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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   Case No. 2:09CR5(1)
                                                §
QUANESHIA QUINA BAKER                           §

              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Charles Everingham IV regarding Defendant’s plea of guilty to Count 3 of an

indictment with a violation of 18 U.S.C. § 1341, Mail Fraud. Having conducted a proceeding in the

form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court

accept the guilty plea of the Defendant. Objections to the Findings of Fact and Recommendation

have been waived by all parties. The Court is of the opinion that the Findings of Fact and

Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed September 9, 2009, are hereby ADOPTED.

       It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds

Defendant GUILTY of Count 3 of the indictment in the above-numbered cause.

       SIGNED this 22nd day of October, 2009.



                                            __________________________________________
                                            T. JOHN WARD
                                            UNITED STATES DISTRICT JUDGE
